                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

DR. REGINA JORDAN-SODIQ,                                 )
                                                         )
          Plaintiff,                                     )
                                                         )   Civil Action Number 3:25-CV-00288
v.                                                       )   District Judge Eli Richardson
                                                         )   Jury Demand
STATE OF TENNESSEE, et al.,                              )
                                                         )
          Defendants.

       DEFENDANT NAVY FEDERAL CREDIT UNION’S REPLY TO PLAINTIFF’S
                  RESPONSES TO ITS MOTION TO DISMISS

          Defendant Navy Federal Credit Union (“Navy Federal”) files this Reply to Plaintiff Regina

Jordan-Sodiq’s (“Plaintiff”) Responses in Opposition to Navy Federal’s Motion to Dismiss

Plaintiff’s Complaint, pursuant to Fed. R. Civ. P. 12(b)(5) and (6).

                                            I. Introduction

          In response to Navy Federal’s Motion to Dismiss, Plaintiff has filed three briefs. Plaintiff’s

first response brief, filed on April 8th, was certainly authorized by L.R. 7.01(a)(3), which permits

a party to file a response brief within fourteen (14) days of service of a Motion. (ECF 27).

Plaintiff’s second response brief, filed on April 14th, and a third amended response brief, filed on

April 15th, were not permitted as the local rules do not contemplate multiple response briefs. (ECF

36; ECF 44). Nevertheless, Plaintiff’s response briefs do not adequately address the arguments

raised in Navy Federal’s Motion to Dismiss, and Plaintiff’s Complaint warrants dismissal,

pursuant to Fed. R. Civ. P. 12(b)(5) and (6).

          A.    Plaintiff’s Complaint Warrants Dismissal for Failure to State A Claim Upon
          Which Relief Can Granted.

          Plaintiff’s responses to Navy Federal’s Motion to Dismiss only reinforce that she has no

plausible claim against Navy Federal. In her responses, Plaintiff does not point to any specific



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factual allegations against Navy Federal in support of her claims. Instead, Plaintiff relies on the

conclusory assertion that the “Complaint specifically identifies Navy Federal’s roles in acts of

harassment and covert gang stalking.” (ECF 27 at p. 1; ECF 36 at p. 2). Plaintiff also goes on to

claim she provided “factual specificity, distinguishing Navy’s actions from other defendants,” but

Plaintiff’s Complaint was on its face devoid of any specific allegations against Navy Federal. (Id.)

Moreover, Plaintiff does not recite the elements of criminal harassment or stalking, nor does

Plaintiff argue that the criminal statutes contain private rights of action. And in support of her

argument as to Civil Conspiracy, Plaintiff recites threadbare causes of action, which is insufficient

to survive a Motion to Dismiss. As such, Plaintiff’s Complaint warrants dismissal pursuant to

12(b)(6) for failure to state a claim upon which relief can be granted.

          B.     Plaintiff’s Complaint Should Be Dismissed For Insufficient Service of Process.

          Additionally, Plaintiff submits that serving process on addresses unrelated to Navy Federal

constituted adequate service. Under Tenn. R. Civ. P. 4.04(4), service upon a foreign corporation

must be made by serving an officer or managing agent thereof; the chief agent in the county

wherein the action is brought; or by delivering the copies to any other agent authorized by

appointment or by law to receive service on behalf of the corporation. Plaintiff alleges to have

served process on the Corporation Service Company at 265 Brookview Centre Way, Suite 203

Knoxville, TN 37919. (ECF 27 at p. 1; ECF 36 at p. 3). Plaintiff also lists another address, which

is stricken by handwriting, of 2000 West 10th Street, Suite 1000, Knoxville TN 37917. (ECF 27

at p. 1). Plaintiff has not met her burden of showing that service by mail meets the requirements

of Tenn. R. Civ. P. 4.04(4) by listing two addresses. Moreover Plaintiff has failed to file a signed

return receipt, and it is therefore unclear who received and signed for the mailed summons.

Therefore, the Court should dismiss Plaintiff’s Complaint pursuant to 12(b)(5).




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          C.     Plaintiff Cannot Assert Additional Claims in Her Response Brief.

          In her Complaint, Plaintiff asserted claims for criminal harassment, covert gang stalking,

and conspiracy. Yet, Plaintiff’s response references claims under tort law, such as intentional

infliction of emotional distress and invasion of privacy. (See ECF 36 at p. 2). Additionally, Plaintiff

raises new factual allegations regarding her status as a member of Navy Federal, and purports to

have attached multiple exhibits in support of her claims. (See ECF 36 at p. 1-2). It is well

established that a plaintiff may not raise new claims or allegations in opposition to a defendant’s

motion to dismiss. See Guzman v. Dep't of Homeland Sec., 679 F.3d 425, 429 (6th Cir. 2012)

(declining to review claim made for first time in response to defendants’ motion to dismiss because

when ruling on a motion under 12(b)(6), “courts consider whether the complaint states a claim

upon which relief could be granted, not whether the plaintiff has stated–or could state–such a claim

elsewhere.”); Kumar v. U.S. Bank Nat'l Assoc., 555 F. App'x 490, 492 (6th Cir. 2014) (holding

that plaintiff's “failure to raise this claim in the amended complaint or to seek leave to amend

forecloses its consideration here”); Newman v. Encore Cap. Grp., No. 16-CV-11395, 2017 WL

3479510, at *17 (E.D. Mich. Aug. 14, 2017) (“Plaintiffs cannot cure deficiencies in their Amended

Complaint through new allegations in their response to Defendants' motion to dismiss.”). Because

the claims for intentional infliction of emotional distress and invasion of privacy were not asserted

in Plaintiff’s Complaint, the claim may not be considered when asserted for the first time in

Plaintiff’s response brief. Moreover, Plaintiff’s allegations regarding her status as a member of

Navy Federal, a “Mr. Graves,” and the multiple exhibits referenced (but not attached) should

similarly not be considered. The court should therefore decline to consider Plaintiff’s newly raised

legal arguments and factual allegations in her response briefs.




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          D.     Conclusion

          WHEREFORE, for the reasons set forth herein, Navy Federal requests its Motion to

Dismiss Plaintiff’s Complaint be granted and Plaintiff’s claims dismissed with prejudice.

          Respectfully submitted this 15 day of April, 2025.

                                               /s/ Katherine R. Rogers
                                               Katherine R. Rogers (TN BPR No. 039382)
                                               Burr & Forman, LLP
                                               222 2nd Avenue South, Suite 2000
                                               Nashville, TN 37201
                                               615-724-3200 (office)
                                               615-724-3290 (fax)
                                               krogers@burr.com
                                               Attorney for Navy Federal Credit Union




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                                 CERTIFICATE OF SERVICE

       I certify that on April 15, 2025 a true and correct copy of the foregoing has been served via
the Court’s CM/ECF System, e-mail and/or U.S. Mail, first-class postage pre-paid upon:
              Dr. Regina Jordan-Sodiq              Kimberly S. Veirs
              1757 Autumnwood Blvd.                U. S. Attorney's Office (Nashville)
              Clarksville, TN 37402                Middle District of Tennessee
              G4818@yahoo.com                      719 Church Street, Suite 3300
                                                   Nashville, TN 37203
                                                   kimberly.veirs@usdoj.gov
              Jason W. Callen                      Bo Christopher Murphy
              K&L Gates LLP                        Butler Snow LLP (Nashville Office)
              501 Commerce Street, Suite 1500      Neuhoff Building
              Nashville, TN 37203                  1320 Adams Street, Suite 1400
              jason.callen@klgates.com             Nashville, TN 37208
                                                   bo.murphy@butlersnow.com
              John H. Dollarhide                   Noah Jordan Mason
              Butler Snow LLP                      Troutman Pepper Locke LLP
              150 3rd Avenue S., Suite, 1600       600 Peachtree Street, NE, Suite 3000
              Nashville, TN 37201                  Atlanta, GA 30308
              john.dollarhide@butlersnow.com       noah.mason@troutman.com
              Cole William Schott
              W. Scott Sims
              Sims Funk, PLC
              3102 West End Ave., Suite 1100
              Nashville, TN 37203
              Email: cschott@simsfunk.com

                                              /s/ Katherine R. Rogers




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